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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                     DIVISION

ALEXIS WELCH,                                       CASE NO. 1:22-CV-00010-CAB

                                    Plaintiff,      JUDGE CHRISTOPHER A. BOYKO

vs.                                                 MOTION FOR LEAVE TO WITHDRAW
                                                    AS COUNSEL
HILLTOP SENIOR LIVING, LLC, et. al.,

                                 Defendants.



       Pursuant to Local Rule 83.9, Danielle C. Young hereby moves for leave to withdraw as

counsel of record for Defendant. As grounds therefore, Ms. Young is no longer with the employ

of Lewis, Brisbois, Bisgaard & Smith LLP (“Lewis Brisbois”) and, therefore will not be

representing Defendant in this matter. David A. Campbell and Andrea V. Arnold of Lewis Brisbois

shall continue as counsel of record for Defendant. Defendant has been notified of Ms. Young’s

withdrawal as counsel through Mr. Campbell and consents to the withdrawal. No party shall suffer

prejudice by this Court permitting Ms. Young to withdraw.


                                                   Respectfully submitted,


                                                   /s/ Danielle C. Young
                                                   Danielle C. Young (0100894)
                                                   Roetzel & Andress, LPA
                                                   1375 East Ninth Street
                                                   One Cleveland Center, 10th Floor
                                                   Cleveland, OH 44114
                                                   216.623.0150
                                                   DYoung@ralaw.com
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                                CERTIFICATE OF SERVICE


       I hereby certify that on this 22nd day of March 2022, the foregoing was filed through the

Court’s CM/ECF electronic filing system. A copy of this filing will be sent to all parties through

the court’s ECF system and will be served upon Defendant through service upon David A.

Campbell.


                                                     /s/Danielle C. Young       x
                                                     Danielle C. Young (0100894)




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